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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:08CR175
                                               )
               Plaintiff,                      )
                                               )
               vs.                             )              TENTATIVE FINDINGS
                                               )
SHELLY WEST,                                   )
                                               )
               Defendant.                      )

       The Court has received the Presentence Investigation Report (“PSR”) in this case.

The parties have not objected to the PSR. See Order on Sentencing Schedule, ¶ 6. The

government adopted the PSR. (Filing No. 168.) The Court advises the parties that these

Tentative Findings are issued with the understanding that, pursuant to United States v.

Booker, 2005 WL 50108 (U.S. Jan. 12, 2005), the sentencing guidelines are advisory.

       Although neither party has objected to the PSR, it appears that the Defendant’s

name is misspelled throughout the PSR and sentencing recommendation. The Defendant’s

first name is spelled “Shelly” in other court records.           The PSR and sentencing

recommendation should be corrected before being sent to the Bureau of Prisons.

       IT IS ORDERED:

       1.      The Defendant’s first name appears to be misspelled through the PSR and

the sentencing recommendation, and these documents must be corrected before sending

them to the Bureau of Prisons;

       2.      Otherwise, the parties are notified that my tentative findings are that the PSR

is correct in all respects;

       3.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion
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challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 20th day of April, 2009.


                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          United States District Judge




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